Case 1:07-cr-10200-DPW Document 178 Filed 12/18/08 Page 1 of 10
Case 1:07-cr-10200-DPW Document 178 Filed 12/18/08 Page 2 of 10
Case 1:07-cr-10200-DPW Document 178 Filed 12/18/08 Page 3 of 10
Case 1:07-cr-10200-DPW Document 178 Filed 12/18/08 Page 4 of 10
Case 1:07-cr-10200-DPW Document 178 Filed 12/18/08 Page 5 of 10
Case 1:07-cr-10200-DPW Document 178 Filed 12/18/08 Page 6 of 10
Case 1:07-cr-10200-DPW Document 178 Filed 12/18/08 Page 7 of 10
Case 1:07-cr-10200-DPW Document 178 Filed 12/18/08 Page 8 of 10
Case 1:07-cr-10200-DPW Document 178 Filed 12/18/08 Page 9 of 10
Case 1:07-cr-10200-DPW Document 178 Filed 12/18/08 Page 10 of 10
